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2       1477 Drew Avenue, Suite 106
        Davis, California 95618
3       Telephone: 530.759.0700
        Facsimile:    530.759.0800
4    Attorney for Defendant
5    KEOUDONE PHAOUTHOUM
6

7                             IN THE UNITED STATES DISTRICT COURT
8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
9                                        SACRAMENTO DIVISION
10
                                                       )
11   UNITED STATES OF AMERICA,                         )       Case No. CR S 08-389, 08-390, 08-391,
                                                       )
12                               Plaintiff,            )       08-392 GEB
                                                       )
13           vs.                                       )
                                                       )
14                                                     )       AMENDED STIPULATION AND
                                                       )       [PROPOSED] ORDER TO
15   KEOUDONE PHAOUTHOUM; et al.,                      )       CONTINUE SENTENCING
                                                       )
16                                                     )
                                 Defendants.           )
17

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20           It is hereby stipulated and agreed to between Plaintiff, UNITED STATES OF
21   AMERICA, through its counsel of record, Michael M. Beckwith, Assistant United States
22   Attorney, and Defendant, KEOUDONE PHAOUTHOUM, through his counsel of record,
23   Joseph J. Wiseman, and without objection from the United States Probation Officer
24   assigned to this case, that the sentencing of Defendant now scheduled for December 17,
25   2010, at 9:00 a.m., be rescheduled to January 28, 2011, at 9:00 a.m.
26           The parties are entering into this Stipulation to provide additional time for
27   /////

28   /////

     _________________________________________________________________________________________________
     Amended Stipulation and Proposed Order to Continue                    Case No. CR S CRS 08-389-392 GEB
     Sentencing
                                                           1
                    Case 2:08-cr-00392-GEB Document 360 Filed 12/10/10 Page 2 of 2



1
     /////
2
     counsel to travel to Butte County to meet with defendant and review the new PSR with
3
     counsel and interpreter.
4

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6
     Dated:                    December 7, 2010       Respectfully submitted,
7
                                                      JOSEPH J. WISEMAN, P.C.
8

9
                                                      By: __/s/ Joseph J. Wiseman__
10                                                          JOSEPH J. WISEMAN
                                                            Attorney for Defendant
11                                                          KEOUDONE PHAOUTHOUM
12
     Dated: December 7, 2010                          BENJAMIN B. WAGNER
13                                                    United States Attorney

14                                                    By:          /s/ Michael M. Beckwith
                                                                MICHAEL M. BECKWITH, AUSA
15
                                                                Attorney for Plaintiff
16                                                              UNITED STATES OF AMERICA

17                                                   ORDER
18
                             GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT the
19
     sentencing in the above-captioned case be continued to January 28, 2011 at 9:00 a.m.
20

21   Date: 12/10/2010

22                                                                _________________________
                                                                  GARLAND E. BURRELL, JR.
23
     DEAC_ Signatu re-END:
                                                                  United States District Judge
24

25   61khh4bb
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     _________________________________________________________________________________________________
     Stipulation and Proposed Order to Continue Sentencing                   Case No. CR S CRS 08-389 GEB

                                                            2
